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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 DIONE JONES, Individually and as Administratrix of the
 Estate of MILTON MCGUIRE,

                 Plaintiff,
          v.
 DELAWARE COUNTY, as owner and operator of FAIR             Civ. No.:
 ACRES GERIATRIC CENTER a/k/a FAIR ACRES, a
 skilled nursing facility;

 and

 WILLIAM D’AMICO, co-managing agent;

 and

 JOSEPH TRAVAGLINI, co-managing agent;




                              COMPLAINT IN CIVIL ACTION

       AND NOW, comes the Plaintiff, Dione Jones, as Administratrix of the Milton McGuire,

deceased, by and through counsel, Daniel Purtell, Esquire and Andrew P. Watto, Esquire, of

McEldrew Young Purtell Merritt, files the instant Complaint in Civil Action, and in support thereof

avers the following:

                                        I.     PARTIES

                                         A.     Plaintiff

       1.       Milton McGuire was an adult individual and resident of Fair Acres Geriatric Center

from August 2018, through his untimely death on August 24, 2020 – with intermittent

hospitalizations.

       2.       Milton McGuire passed away on August 24, 2020.




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       3.       Plaintiff, Dione Jones is an adult individual residing at 1006 North Walnut St.,

Wilmington, DE 19801.

       4.       Plaintiff, Dione Jones, is the daughter of Milton McGuire, was appointed

Administratrix of the Estate of Milton McGuire on March 5, 2021, by the Register of Wills in the

Register of Wills of Delaware County, Pennsylvania.

       5.       Plaintiff brings this action as the personal representative of decedent, Milton

McGuire, on behalf of all those entitled by law to recover damages for the wrongful death of

Milton McGuire.

       6.       Milton McGuire did not bring an action to recover damages for personal injuries

during his lifetime, and no other action has been filed to recover damages for the wrongful death

of Milton McGuire.

       7.       Milton McGuire’s wrongful death beneficiaries are as follows:

                a. Plaintiff, Dione Jones - see above

                b. Shawn McGuire – 26 W Roland Rd., Brookhaven, PA 19015

                                        B.      Defendants

       8.       Defendant, County of Delaware, Fair Acres Geriatric Center, (hereinafter referred

as “Fair Acres”) is located at 340 Middletown Road, Media, PA 19063, and is owned and operated

by Delaware County, Pennsylvania, and as such is acting under the color of state law.

       9.       At all times material hereto, Fair Acres is operated as a “skill nursing facility” as

defined by 42 U.S.C. § 1395i-3.

       10.      At all times relevant hereto, Fair Acres operated as a “long term care nursing

facility” as that term is defined in 35 P.S. §448.802A.




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       11.     Accordingly, Fair Acres is a “licensed professional” as that term is defined in 40

P.S. § 1303.503.

       12.     Delaware County owns and operates greater than five percent (5%) of Fair Acres.

       13.     At all times relevant hereto, Fair Acres was acting independently, and by and

through its authorized agents, employees, servants, contractors, subcontractors, staff and/or

partners, and those persons granted privileges at the Fair Acres and holding itself and its agents,

employees, servants, contractors, subcontractors, staff and/or partners, and those persons granted

privileges at the Fair Acres, out to the public as competent and skillful healthcare providers and

practitioners of medicine; and which is personally, directly and vicariously liable, among other

things within the Complaint, for the acts and omissions of itself, its agents, employees, servants,

contractors, subcontractors, staff and/or partners all of whom played a role in the care provided to

Milton McGuire and in the operation of Fair Acres.

       14.     Defendant, William D’Amico, is one of the co-managing agents of Fair Acres that

has final decision-making authority over the entire operation of Fair Acres, including but not

limited to staffing, hiring, budget, policies, procedures, regulatory compliance, and

administrative services for Fair Acres.

       15.     Defendant, Joseph Travaglini, is one of the co-managing agents of Fair Acres that

has final decision-making authority over the entire operation of Fair Acres, including but not

limited to staffing, hiring, budget, policies, procedures, regulatory compliance, and

administrative services for Fair Acres.

       16.     Defendant, Delaware County acts by and through Defendants, William D’Amico

and Joseph Travaglini, in the operation of Fair Acres.




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       17.     At the time of the incidents pled herein, Fair Acres was acting under the control

of Delaware County, and was acting by and through its authorized agents, servants, and

employees then and there acting within the course and scope of their employment.

       18.     At all times relevant hereto, Plaintiff was a recipient of Medicare benefits pursuant

to 42 U.S.C.A. §1395, et seq.

       19.     At all times material hereto, the Defendants owed duties indicated within this

Complaint, some of which were non-delegable, to the residents of the Fair Acres, including Milton

McGuire, such duties being conferred by statue, existing at common law, and/or being voluntarily

assumed by the Defendants.

       20.     At all times material hereto, the Defendants owned, operated, managed and

controlled the Fair Acres, and engaged in the business of providing healthcare, medical services,

therapy, rehabilitation, skilled nursing care, and custodial care services to the general public.

       21.     At all times material hereto, it is believed and therefore averred that the Defendants,

was directed by and through its policy makers, the Delaware County Commissioners.

                             II.     JURISDICTION AND VENUE

       22.     This case asserts wrongful death and survival actions for Deprivation of Civil

Rights Enforceable via 42 U.S.C. § 1983.

       23.     Accordingly, the instant case presents issues of federal law, jurisdiction is proper

in this forum as federal question pursuant to 28 U.S.C. § 1331.

       24.     This court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C.

§ 1367, which provides that “in any civil action of which the district courts have original

jurisdiction, the district courts shall have supplemental jurisdiction over all other claims that are

so related to claims in the action within such original jurisdiction that they form part of the same

case or controversy under Article III of the United States Constitution.” See 28 U.S.C. § 1367(a).
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        25.      Under 28 U.S.C. § 1391(b)(2), venue is appropriate in the Eastern District of

Pennsylvania as a substantial part of the events or omissions giving rise to the instant claim

occurred in this judicial district.

                                      III.   JURY DEMAND

        26.      Plaintiff, Dione Jones, as Administratrix of the Estate Milton McGuire, deceased,

demands a trial by jury.

                                IV.    FACTUAL BACKGROUND

                                 A.     Conduct of the Defendants

        27.      Milton McGuire was resident of Fair Acres from August 2018 through August 24,

2020.

        28.      Milton McGuire was admitted to Fair Acres on August 2018, for a short-term

rehabilitation stay.

        29.      Upon admission, Milton McGuire required reliable assistance and skilled care in

order to complete her activities of daily living and rehabilitation, which necessitated her admission

to Fair Acres.

        30.      In exchange for financial consideration, and pursuant to the admission contract,

Milton McGuire was admitted to Fair Acres in order to obtain and be provided with that assistance.

        31.      During his residency at Fair Acres, Milton McGuire was a recipient of Medicaid

benefits pursuant to 42 U.S.C.A. § 1396, et seq.

        32.      During his residency at Fair Acres, Milton McGuire was also recipient of Medicare.

        33.      When the Defendants agreed to admit Milton McGuire, Fair Acres assumed the

obligation of providing for his total healthcare, including the provision of nutrition, hydration,




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activities of daily living, medical, skilled nursing, occupational therapy, speech therapy, physical

therapy, and daily custodial care.

       34.     The Defendants exercised complete and total control over the healthcare of all the

residents of Fair Acres, including Milton McGuire.

       35.     As defined by 40 P.S. § 1303.503, Fair Acres and Defendant D’Amico and

Defendant Travaglini were licensed health care providers at all times relevant hereto.

       36.     At all times material hereto, Fair Acres held itself out to the public as a professional

in the field of adult nursing care, with the expertise necessary to maintain the health and safety of

elderly residents such as Milton McGuire.

       37.     The Defendants and its employees and agents, and the Delaware County

Commissioners, had a duty to ensure that all persons providing care within Fair Acres facility were

competent to provide that care to its residents, including Milton McGuire.

       38.     At all times material hereto, Fair Acres and its authorized agents, employees,

servants, contractors, subcontractors, staff and/or partners, and those persons granted privileges at

the Fair Acres owed a duty not to violate the federally protected legal rights of any resident,

including Milton McGuire.

       39.     At all times material hereto, the Northampton County Commissioners, Fair Acres

and its authorized agents, employees, servants, contractors, subcontractors, staff and/or partners,

and those persons granted privileges at Fair Acres had a duty to comply with all provisions of the

Omnibus Budget Reconciliation Act of 1987/Federal Nursing Home Reform Act, 42 U.S.C. §

1396r, 1396a(w) at incorporated by 42 U.S.C. § 1396(r) and the implementing regulations found

at 42 C.F.R. § 483, et seq.




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       40.     The above noted statutes and regulations are designed and intended to protect

persons such as Milton McGuire against the negligent and reckless care she encountered and the

harm she suffered while a resident of the Fair Acres.

       41.     At all times material hereto, the Defendants had a duty to establish, adopt and

enforce adequate rules and policies and procedures to ensure quality care for residents and

addressed the clinical and daily needs of the residents of Fair Acres, including Milton McGuire.

       42.     At all times material hereto, the Defendants, and the Delaware County

Commissioners, had a duty and responsibility to ensure those policies and procedures addressed

the needs of the residents of the Fair Acres, which included Milton McGuire. This includes

policies and procedures addressing the recognition and/or treatment of Milton McGuire’s medical

conditions, so as to ensure that timely and appropriate care was provided for these conditions

whether at Fair Acres or obtained from other medical providers.

       43.     It is believed, and therefore averred, that the Defendants, and the Delaware County

Commissioners, exercised ultimate authority over all budgets and had final approval over the

allocation of resources for staffing, supplies, capital expenditures, and operations of Fair Acres.

       44.     The Defendants, and the Delaware County Commissioners, acting through their

Administrators, members, managers, and board of directors, had the duty and responsibility to

oversee the standard of professional practice by the members of their staff at Fair Acres, including

regarding the conduct at issue herein.

       45.     At all times material hereto, the Defendants, and the Delaware County

Commissioners, had a duty to employ an adequate number of properly trained medical and nursing

staff who were qualified to properly care for the residents at Fair Acres, including Milton McGuire.




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        46.       The Defendants, and the Delaware County Commissioners, had a duty and

responsibility to ensure that Fair Acres and its residents, including Milton McGuire, were provided

with sufficient staff and resources to guarantee the timely recognition and appropriate treatment

of their medical, nursing and/or custodial needs whether within Fair Acres or from other medical

care providers.

        47.       Despite their knowledge of the likelihood of harm due to these insufficient staffing

levels, and despite Complaints of insufficient staffing from staff members, residents and their

families, the Defendants, and the Delaware County Commissioners, recklessly and/or negligently

disregarded the consequences of its actions, and/or negligently caused staffing levels at Fair Acres

to be set at a level that did not allow staff to sufficiently meet the needs of the residents, including

Milton McGuire.

        48.       The Defendants knowingly sacrificed the quality of care received by all residents,

including Milton McGuire, by failing to manage, care, monitor, document, chart, prevent, diagnose

and/or treat the injuries and illnesses suffered by Milton McGuire, as described herein, which

included malnutrition, dehydration develop and worsening of bedsores, neglect, aspiration,

aspiration pneumonia, and untimely death.

        49.       At all times material hereto, the Defendants were operating personally or through

their agents, servants, workers, employees, contractors, subcontractors, staff, and/or principals,

who acted with actual, apparent and/or ostensible authority, and all of whom were acting within

the course and scope of their employment and under the direct and exclusive control of the

Defendants.




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               B.     Injuries of Milton McGuire at Fair Acres Nursing Home

       50.     Despite requesting records from Fair Acres and providing the appropriate authority

documents, Plaintiff has not received a copy of Milton McGuire’s Fair Acres facility chart.

       51.     Accordingly, Plaintiff reserves the right to file an Amended Complaint within a

reasonable amount of time after receiving the full and complete Fair Acres facility record.

       52.     Upon admission to Fair Acres and during the relevant time period, Milton McGuire

was dependent upon the staff for his physical, mental, psycho-social, medical nursing and custodial

needs, requiring total assistance with activities of daily living, and he had various illnesses and

conditions that required evaluation and treatment.

       53.     The Defendants knew or should have known that Milton McGuire was at risk for

malnutrition, dehydration develop and worsening of bedsores, neglect, aspiration, aspiration

pneumonia, and untimely death.

       54.     The Defendants, through its acts and omissions, deprived Milton McGuire of

adequate care, treatment, supervision, and medicine and caused him to suffer numerous illnesses

and injuries, which included malnutrition, dehydration develop and worsening of bedsores,

neglect, aspiration, aspiration pneumonia, and untimely death.

       55.     As a result of the severity of the negligence the Defendants inflicted upon Milton

McGuire, the deterioration of his health and physical condition was negligently accelerated and

resulted in both physical and emotional injuries, a loss of dignity, degradation, emotional trauma,

severe pain, suffering and mental anguish, unnecessary hospitalizations, and death.

       56.     During his residency at Fair Acres, nursing staff failed to provide adequate

supervision, care and treatment, and a result, Mr. McGuire frequently did not eat or drink enough



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food and water, was not moved and repositioned frequently, and, he suffered malnutrition,

dehydration develop and worsening of bedsores, neglect, aspiration, aspiration pneumonia, and

untimely death.

        57.       During his residency at Fair Acres, Milton McGuire, was dependent on Fair Acres,

its officers, agents and employees to assure that her medications and treatments were in accordance

with acceptable medical practice.

        58.       The Defendants, and its officers, agents and employees, failed, refused or neglected

to perform the duties to provide reasonable and adequate health care and supervision to and for

Milton McGuire.

        59.       The Defendants, its employees, agents, officers and servants provided care and

treatment to Milton McGuire and all of the alleged negligent, reckless and wanton acts, omissions

and occurrences, herein described, were performed by the Defendants’ employees, agents, officers

and servants within the course and scope of their agency and employment with defendants and in

furtherance of defendants’ business.

        60.       As set forth in detail in the paragraphs below, Fair Acres’ s nursing staff acted with

actual malice and willful misconduct which resulted in physical and emotional harm to Milton

McGuire and ultimately caused his death.

        61.       Milton McGuire, 79, was admitted to the Fair Acres August 2018, for short-term

rehabilitation.

        62.       Defendants had a custom and practice of trying to keep short-term rehab residents

and converting them into long term care residents.

                  63.    Over the course of his admission, Plaintiff consistently visited her father at

        Fair Acres.



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         64.   Plaintiff also brought food and fed her father when she visited him at Fair

Acres.

         65.   This was consistent each week until March 2020, when Plaintiff was no

longer able to visit due to COVID-19.

         66.   Upon information and belief, Mr. McGuire was fed and/or assisted with

feeding and drinking over the last months of his life while living at Fair Acres.

         67.   He was consistently left in bed into the afternoon and therapy services were

often missed or skipped.

         68.   He was not consistently provided water.

         69.   He was weak, dehydrated and not receiving the therapy he was sent to Fair

Acres to receive.

         70.   He developed an avoidable bedsore on his left heel.

         71.   The family was not contacted when the bedsore first developed.

         72.   Plaintiff and her family did not learn of their father’s bedsore until he was

hospitalized on June 29, 2020.

         73.   On June 29, 2020, Mr. McGuire was admitted to Riddle Memorial Hospital

for suspicion of osteomyelitis in his left heel bedsore.

         74.   On July 2, 2020, a surgical debridement was performed on Mr. McGuires

left heel bedsore with suspicion for osteomyelitis.

         75.   He was discharged back to Fair Acres on July 6, 2020.

         76.   On August 16, 2020, Mr. McGuire was transferred to Riddle Memorial

Hospital due to respiratory distress.




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         77.   Upon admission, he was noted to appear dehydrated and cachectic, with

respiratory distress and hypoxia.

         78.   Milton McGuire died on August 24, 2020, at Riddle Memorial Hospital.

         79.   Upon information and belief, Mr. McGuire died from systemic and

consistent neglect while a resident at Fair Acres, including but not limited to malnutrition,

dehydration develop and worsening of bedsores, neglect, aspiration, aspiration pneumonia,

and untimely death on August 24, 2020.

         80.   The Defendants, and its employees and staff, failed to adequately provide

the necessary and basic care – food and water – to Mr. McGuire that resulted in his untimely

death.

         81.   It is believed, and therefore averred, that there was not sufficient staff to

supervise and care for Mr. McGuire.

         82.   The Defendants were fully aware of Milton McGuire’s medical history,

medical conditions, and co-morbidities and the level of nursing care he would require while

a resident at Fair Acres.

         83.   Milton McGuire’s medical condition and death was a direct result of the

negligence, carelessness, recklessness and wanton care provided by the Defendants.

         84.   The care plan developed by the Defendants for Milton McGuire was

inadequate, inaccurate and/or incomplete and is a result of poor training and education of

the staff.

         85.   Accordingly, Milton McGuire’s care plan did not address his relevant care

needs, was not implemented and/or was not revised, to adequately address his risk of




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extreme weight loss, malnutrition, development and deterioration of stage IV bedsore, and

dehydration resulting in death.

       86.     The Defendants failed to plan, develop or implement any necessary

interventions to address or minimize the risk of Milton McGuire’s extreme weight loss,

dehydration, malnutrition, development and deterioration of stage IV bedsores, and death.

       87.     The Defendants failed to appropriately provide care and treatment to Milton

McGuire while a resident at Fair Acres.

       88.     The Defendants failed to ensure that Milton McGuire consumed enough

nutrition and water.

       89.     As a result of the Defendants’ failure to properly assess, treat, and supervise

the above-described conditions, Milton McGuire suffered a significant decline in health

which directly resulted in his death.

       90.     These failures are the result of poor staff education and training.

       91.     The Defendants’ acts and the acts of its employees constituted actual malice

or willful misconduct and were a direct cause of the injury and death of Milton McGuire.

       92.     Fair Acres is an over 800-bed skilled nursing home facility.

       93.     The Defendants, and the Delaware County Commissioners, had a

longstanding, systematic and continuous custom, practice and/or policy to understaff

physicians and nursing staff at Fair Acres.

       94.     The Defendants, and the Delaware County Commissioners, had actual

and/or constructive knowledge that its custom, practice and/or policy of understaffing Fair

Acres, with insufficient physicians and poorly trained nursing staff to care for patients, was

a substantial factor in bringing harm to its residents, including Milton McGuire.



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                                    COUNT ONE
                  DEPRIVATION OF CIVIL RIGHTS ENFORCEABLE
                     BY 42 U.S.C. § 1983 – WRONGFUL DEATH

    Plaintiff, Dione Jones, as Administratrix of the Estate Milton McGuire, deceased
                                            v.
Defendants, Delaware County, Fair Acres Geriatric Center, William D’Amico, NHA, and
                             Joseph Travaglini (“Defendants”)

            95.     Plaintiff hereby incorporates by reference the preceding paragraphs as

     though the same were fully set forth at length herein.

            96.     Defendants are agents of the Commonwealth of Pennsylvania and at all

     times relevant to this Complaint was acting under color of state law.

            97.     Defendants are bound by the 1987 Omnibus Budget Reconciliation Act

     (OBRA) and the Federal Nursing Home Reform Act (FNHRA) which was contained

     within the 1987 OBRA. See: 42 U.S.C. § 1396r; 42 U.S.C. §1396a(w) (as incorporated by

     42 U.S.C. §1396(r).)

            98.     Defendants are also bound by the OBRA/FNHRA implementing

     regulations found at 42 C.F.R. § 483, et seq., which served to define specific statutory

     rights set forth in the above-mentioned statues.

            99.     The specific detailed regulatory provisions as well as the statutes in question

     create rights which are enforceable pursuant to 42 U.S.C. § 1983, as the language of these

     regulations and statutory provisions clearly and unambiguously creates those rights.

            100.    The Defendants in derogation of the above statute and regulations, and as a

     custom and policy, failed to comply with the aforementioned regulations as follows:




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    a.    failure to ensure that residents, including Milton McGuire, did not suffer

          verbal, physical and mental abuse as required by 42 C.F.R. § 483.12;

    b.    failure to develop and implement written policies and procedures that

          prohibited the mistreatment, neglect and abuse of residents such as Milton

          McGuire as required by 42 C.F.R. § 483.12;

    c.    failure to adequate train new and existing staff, individuals provided

          services under a contractual arrangement, and volunteers to care for

          residents, including Milton McGuire as required by 42 C.F.R. § 483.12 and

          42 C.F.R. § 483.95;

    d.    failure to treat residents, including Milton McGuire, with respect and

          dignity, as required by 42 C.F.R. § 483.10 and 42 U.S.C. § 1396r(b)(1)(A);

    e.    failure to promote the care of residents, including Milton McGuire, in a

          manner and in an environment that maintained or enhanced their quality of

          life while recognizing each resident’s individuality as required by 42 C.F.R.

          § 483.10 and 42 U.S.C. §1396r(b)(1)(A);

    f.    failure to develop a comprehensive care plan for residents, including Milton

          McGuire, which included instructions needed to provide effective and

          person-centered care of the resident that met the professional standards of

          quality care as required by 42 C.F.R. §483.21 and 42 U.S.C. §

          1396(r)(b)(2)(A);

    g.    failure to provide residents, including Milton McGuire, the necessary care

          and services to allow him to attain or maintain the highest, practicable,




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          physical, mental and psychosocial well-being, as required 42 C.F.R. §

          483.24 and 42 U.S.C. § 1396(r)(b)(3)(A);

    h.    failure to conduct an assessment of a resident, such as Milton McGuire, as

          set out in 42 U.S.C. §1396(r)(b)(3)(A), promptly upon admission and after

          a significant change in the resident's physical or mental condition, as

          required by § 42 U.S.C. §1396(r)(b)(3)(C)(i)(ii) and 42 C.F.R. § 483.20;

    i.    failure to periodically review and revise a resident's written plan of care by

          an interdisciplinary team after each of the residents’ assessments as set out

          in 42 U.S.C. §1396(r)(b)(3)(A) as required by § 1396(r)(b)(2)(C) and 42

          C.F.R. § 483.21;

    j.    failure to use the results of the required resident’s assessments, as described

          above, in developing, reviewing and revising the resident's plan of care as

          described in 42 U.S.C. § 1396(r)(b)(2) and as required by 42 U.S.C. §

          1396(r)(b)(3)(D);

    k.    failure to ensure that residents, including Milton McGuire, were provided

          medically related social services to attain or maintain the highest practicable

          physical, mental and psychosocial well-being as required by 42 C.F.R. §

          483.40(c)(d) and 42 U.S.C. § 1396(r)(b)(4)(ii);

    l.    failure to ensure that an ongoing program, directed by a qualified

          professional, of activities designed to meet the interests of each resident and

          support the physical, mental and psychosocial well-being of each resident

          or patient, including Milton McGuire, as required by 42 C.F.R. § 483.24

          and 42 U.S.C. §1396(r)(b)(4)(A)(v);



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    m.    failure to ensure that the personnel responsible for the care and treatment

          of residents, such as Milton McGuire, were provided by qualified persons

          in accordance with each resident’s plan of care as required by 42

          §1396(r)(b)(4)(B);

    n.    failure to provide sufficient nursing staff to provide nursing and related

          services to assure resident safety and that would allow residents, including

          Milton McGuire, to attain or maintain the highest practicable, physical,

          mental and psychosocial well-being, as required by 42 C.F.R. § 483.35 and

          42 U.S.C. § 1396(r)(b)(4)(C);

    o.    failure to maintain clinical records on all residents, including Milton

          McGuire, which included the plans of care as set out in 42 U.S.C. §

          1396(r)(b)(2) and resident's assessment as set out in 42 U.S.C. §

          1396(r)(b)(3), as required by 42 U.S.C. § 1396(r)(b)(6)(C);

    p.    failure administer Fair Acres in a manner that enabled the facility to use its

          resources effectively and efficiently to allow each resident, including

          Milton McGuire, to attain or maintain the highest practicable physical,

          mental and psychosocial well-being as required by 42 C.F.R. §483.70, 42

          U.S.C. §1396(r)(d)(A) and 42 U.S.C. §1396(r)(d)(1)(C);

    q.    failure to ensure that the administrator of Fair Acres met the standards

          established under 42 U.S.C. §1396(r)(f)(4) as required by 42 U.S.C.

          §1396(r)(d)(1)(C);

    r.    failure to ensure that Fair Acres operated and provided services in

          compliance with all applicable Federal, State, and local laws, and within the



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                        accepted professional standards which apply to professionals providing

                        services to residents, including Milton McGuire, operating such a facility as

                        Fair Acres, as required by 42 U.S.C. § 1396(r)(d)(4)(A); and,

                s.      failure to ensure that Fair Acres’s administrator and director of nursing

                        properly monitored and supervised subordinate staff, including staff

                        education, training, qualifications, and competencies, thereby failing to

                        ensure the health and safety of residents or patients, including Milton

                        McGuire, in derogation of 42 C.F.R. § 483.70 and 42 U.S.C. § 1396(a)(w).

        119.    Nursing facilities, like Fair Acres, are required to submit annual cost reports to

CMS and the state’s Medicaid agency.

        120.    These reports identify, among other things, the patient census and the hours of

respective clinical staff.

        121.    By dividing the clinical hours worked by the patient census it is possible to

determine how many hours the nursing facility paid for each category of direct caregivers per

resident per day for the time period covered by that particular cost report.

        122.    This number is referred to as the “HPPD” (Hours Per Patient Day).

        123.     According to CMS expectations, during the 24- month period leading up to and

preceding Mr. McGuire’s admission, Defendants failed to provide the level of staffing necessary

to meet the needs of their residents.

        124.    During 2016 Defendants understaffed their RN’s by almost 66%. Defendants also

understaffed RNs, LPN’s and CNA’s an average of 16.6% - resulting in a net savings of $6,718,

038.




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        125.   During 2017 Defendants understaffed their RNs by 70%.               Defendants also

understaffed their RN’s, LPN’s and CNA’s an average of 14.9% - resulting in a net savings of

$5,965,581.

        126.   During 2018 Defendants also understaffed their RNs by 70%. Defendants also

understaffed their RN’s, LPN’s and CNA’s an average of 23.2% - resulting in a net savings of

$6,539,643.

        127.   However, once more accurate staffing information is produced to Plaintiff in

discovery the above intentional staffing shortfalls and the associated savings will likely increase.

        128.   Discovery is necessary because the information publicly available based on Fair

Acres Payroll-Based Journal (“PBJ”) staffing hours reported by the facility itself to CMS for the

years 2016-2018, is significantly different than the staffing hours data for the same time period as

reported on the Fair Acres Medicaid Cost Reports or the annual CMS Cost report.

        129.    Defendants, jointly and/or separately, exercised control over the ownership,

control, administration, operation and management of the facility prior to and Milton McGuire’s

period of residency therein, including but not limited to, the creation, setting, funding and/or

implementation of budgets; the monitoring of resident acuity levels; the monitoring of staffing

levels; creation, monitoring and compliance of policies and procedures; control over resident

admissions and discharges; and control over the number of hours of direct care provided to the

residents of Defendants’ facility by RNs, LVNs, and CNAs.

        130.    Defendants, jointly and/or separately also intentionally chose to not use its great

financial resources to increase staffing and rectify the staffing shortages at Fair Acres from 2016-

2018.




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       131.    During the years 2016, 2017 and 2018, Fair Acres’ balance sheet showed that cash

was available to pay for additional staffing.

       132.    In 2016, Fair Acres had $4,766,412 cash on hand.

       133.    In 2017, Fair Acres had $484,162 cash on hand.

       134.    In 2018, Fair Acres had $6,796,891 cash on hand.

       135.    Defendants own the building worth approximately $90mm.

       136.    Defendants were aware of the millions of dollars in cash on hand available to Fair

Acres for the years 2016 through 2018.

       137.    Defendants intentionally understaffed Fair Acres from 2016 through 2018, and

Defendants intentionally chose not to increase staffing levels at Fair Acres, despite having millions

of dollars available to pay for additional staffing, including almost seven million dollars of cash in

2018 when Fair Acres was understaffed Rn’s by 70%, and almost five million dollars in 2016,

when Fair Acres was understaffed RN’s by 66%.

       138.    Additionally, according to their balance sheets, in the years 2016, 2017 and 2018,

Fair Acres and/or the other defendants paid three times the national average for employee benefits.

       139.    This all despite being significantly understaffed during this period.

       140.    Fair Acres’ balance sheet also indicated expenses for nursing administration that

was significantly over the national average, another example of allocating resources anywhere but

to increase and rectify the gross understaffing at Fair Acres during 2016, 2017 and 2018.

       141.    In further support of its intentional understaffing and failure to allocate resources

to promote the health and safety of residents at Fair Acres, including Joseph M. Ellis, from 2016,

2017 and 2018, Fair Acres received at least 45 complaint surveys received by the Pennsylvania




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Department of Health and received 27 deficiencies, including two that resulted in actual harm to

Fair Acres residents.

       142.    Specifically, in 2016, Fair Acres received at least 9 complaint surveys, and was

cited by the Pennsylvania Department of Health for the following deficiencies:

               a.       Violation of 483.10(b)(11) – failure to notify a resident’s
                        family of a resident’s change in condition and transfer to the
                        hospital;

               b.       Violation of 483.25(m)(2) – failure to correctly administer a
                        medication in accordance with physician’s orders which
                        caused a significant medication error requiring
                        hospitalization and resulting in actual harm to the resident;


               c.       Violation of 483.25(h) – failure to ensure residents ingested
                        their medications when administered and failure to provide
                        appropriate supervision on wanderguard unit;


               d.       Violation of 483.25 – failure to follow physician order for
                        the administration of insulin;


               e.       Violation of 483.25(b) – failure to provide routine and
                        follow up eye examination to resident;


               f.       Violation of 483.35(9) – failure to store food under sanitary
                        conditions in one of its kitchens;


               g.       Violation of 483.35(i)(3) – failure to maintain sanitary
                        conditions of two outside dumpsters;


               h.       Violation of 483.60(c) – failure to act upon pharmacy
                        recommendations for resident;


               i.       Violation of 483.60(b),(d), and (e) – failure to ensure
                        medications were properly stored and labeled per
                        professional standards and failed to dispose of medications
                        after the expiration period;

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              j.      Violation of 483.75(l)(1) – failure to provide complete,
                      accurate documentation of the dosage of insulin to be
                      administered to resident’s;


              k.      Violation of 483.13(c) – failure to report an alleged incident
                      of serious physical injury to State Department of Aging for
                      a resident who sustained a fracture of the tibia and fibula
                      while being improperly transferred using a mechanical lift;

       143.   Specifically, in 2017, Fair Acres received at least 19 complaint surveys, and was

cited by the Pennsylvania Department of Health for the following deficiencies:

              a.      Violation of 483.21(b)(3)(ii) – failure to implement the care
                      plan developed to address falls for a resident and it was
                      observed that the facility failed to ensure the staff member
                      was seated next to the resident as indicated in the care plan
                      and the surveyor had to point this out to the staff member
                      since the resident was in danger of falling;

              b.      Violation of 483.10(a)(1) – failure to ensure that resident
                      received means in a group setting in a manner that respected
                      their dignity;


              c.      Violation of 483.24(c)(1) – failure to meet the recreational
                      needs of residents by failing to develop appropriate activity
                      programming for cognitively impaired and dependent
                      residents;


              d.      Violations of 483.24 and 483.25(k)(1) – failure to act timely
                      on recommendations made by consulting physician for
                      resident where recommended labs and medication were
                      delayed;


              e.      Violation of 483.(a)(1)(2) – failure to ensure that an
                      ophthalmologist services were obtained in a timely manner;


              f.      Violation of 483.25(g)(1)(3) – failure to ensure that residents
                      maintained acceptable parameters of nutritional status based
                      on a failure to monitor a resident’s weight loss;

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144.Specifically, in 2018, Fair Acres received at least 17 complaint surveys, and was cited by

    the Pennsylvania Department of Health for the following deficiencies:

           a.     Violation of 483.25(g)(4)(5) – failure to ensure that a
                  resident receives the appropriate treatment to prevent
                  complications of enteral feeding;

           b.     Violation of 483.25(k) – failure ensure that non-
                  pharmaceutical interventions were attempted prior to the
                  administration of as needed pain medications;


           c.     Violation of 483.10(a)(1)(2)(b)(1)(2) – failure to provide
                  care in a manner that promoted resident dignity;


           d.     Violation of 483.10(g)(17(18)(i)-(v) – failure to ensure the
                  understanding of required Notice of Medicare Provider Non-
                  Coverage and for the appeal process;


           e.     Violation of 483.20(g) – failure to ensure the accuracy of
                  resident assessments which was confirmed by interview of
                  the facility administrator;


           f.     Violation of 483.21(b)(2)(i)-(iii) – failure to revise a care
                  plan to meet the nutritional needs of resident;


           g.     Violation of 483.25(e)(1)-(3) – failure to provide a program
                  to retain bladder function;


           h.     Violation of 483.10(g)(14)(i)-(iv)(15) – failure to notify the
                  physician of a change in condition in a timely manner;


           i.     Violation of 201.14(a) – failure to comply with the
                  requirements of Act 52, relating to nursing home assessment
                  of a surcharge per bed to the Patient Safety Authority;


           j.     Violation of 483.25(d)(1)(2) – failure to ensure residents
                  were free of accidents during a transfer via a mechanical lift

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                         that resulted in actual harm to a resident with transfer to the
                         hospital and a subdural hematoma;

       145.    Plaintiff alleges that each of aforementioned complaint surveys and deficiencies

from 2016-2018, reported by the Pennsylvania Department of Health against Fair Acres

demonstrate Defendants’ ownership, control, administration, managerial and operational

function failures that were intentional and had a direct impact on the amount and quality of care

delivered to Joseph M. Ellis and were taken in furtherance of operational and managerial

objectives.

       146.        Plaintiff alleges that Defendants jointly and/or separately, engaged in a

systematic process of ensuring it maintained the highest acuity levels possible while failing to

provide sufficient and qualified staff to meet the individual needs of their residents during Milton

McGuire’s period of residency therein.

       147.    Defendants had millions of dollars in cash available between 2016 and 2018, yet

intentionally chose to understaff Fair Acres.

       148.        Plaintiff alleges that this understaffing and other systemic failures by

Defendants, although profitable for Defendants, directly resulted in their failure to provide the

necessary and basic services Joseph M. Ellis needed, and that Defendants’ failures resulted in

causing, contributing and/or increasing the risk of the injuries that caused Mr. Ellis’ multiple

falls and death.

       149.        Such understaffing caused and/or created a perfect formula for not having

proper assessments, supervision, monitoring, training, assistance and implementation of

necessary medical and/or nursing treatment that caused, failed to timely assess and/or failed to

properly assess, implement necessary and appropriate interventions to address Joseph M. Ellis’

high fall risk, which directly caused his avoidable fall and horrific and untimely passing.

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         150.   Defendants’ intentional, systemic and profitable practice of understaffing of RNs

and the nursing staff as a whole at Fair Acres, and their failure to provide the necessary and

nursing care and assessment for residents including Milton McGuire of caused, contributed

and/or increased the risk of Mr. McGuires’ injuries and lead to his suffering and death.

         151.   Additionally, Defendants jointly and/or separately through its administrator,

directors and managers put the health and safety of the residents at risk by consciously and

knowingly fostering, creating and/or maintaining a facility that ignored its own policies and

procedures, ignored state and federal regulations, and had its own unwritten rules that placed

residents like Milton McGuire in harm’s way.

         152.   Fair Acres was significantly understaffed before and during the residency period of

Milton McGuire.

         153.   Plaintiff will obtain further evidence to support this systemic and widespread

understaffing by Defendants through census, HPPD, punch detail reports, daily staffing and

assignment sheet, and other documents kept by Defendants that relate to staffing levels at Fair

Acres.

         154.   Evidence of the systematic violations of these rights, and that the violations of these

rights were part of a "custom and policy” and placed each of the residents, including Mr. McGuire,

in danger.

         155.   The Defendants, and the Delaware County Commissioners, failed to act despite this

knowledge and exhibited deliberate indifference to the safety and well-being of the residents,

including Milton McGuire.

         156.   There were numerous instances of deliberate indifference by the policy makers for

the Defendants and the Delaware County Commissioners, as evidenced by their repeat deficiencies



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on Department of Health surveys. Those repeat deficiencies evidence a custom and policy on

behalf of the policy makers.

       157.    Moreover, it is believed and therefore averred, that the Delaware County

Commissioners were made aware of the Department of Health Survey results.

       158.    The Department of Health survey results, and repetition of deficiencies, evidence a

staff that was poorly trained.

       159.    The management and the licensee of Fair Acres was cited for a repeat deficiency

on between 2016 and 2020, some repeat deficiencies.

       160.    These deficiencies evidence the lack of training on behalf of the employees and

staff of Fair Acres.

       161.    It is believed, and therefore averred, that repeat deficiencies are evidence of a lack

of training of the employees and staff of Fair Acres.

       162.    For example, the fact that Defendants and its staff were repeatedly cited for failure

to supervise its residents to prevent accidents is evidence of a policy and custom that directly led

to the injuries suffered by Milton McGuire as detailed in the Complaint.

       163.    The Department of Health surveys regarding Fair Acres, clearly establishes that the

violations of these rights were not limited to singular and isolated incidents, but were part of a

much broader and more consistent “custom and policy” of the defendant to violate patients’ rights.

       164.    The Defendants, and the Delaware County Commissioners, knew, or should have

known, of the aforementioned issues that were occurring with the care of Milton McGuire, as they

were placed on actual and/or constructive notice of the same, through their own reports, CMS

Quality Indicator Reports, CASPER Reports, and Federal and Pennsylvania Department of Health

Surveys.



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       165.      As a proximate result of the Defendants’ actionable derogation of its regulatory and

statutory responsibilities as above-described, and its deliberate indifference, Milton McGuire was

injured as previously referenced, and suffered pain, emotional distress, economic damages and

death as a result of the poor care and treatment which caused malnutrition, dehydration, weight

loss, pressure ulcers, aspiration, aspiration pneumonia, and resulted in his untimely death.

       166.      As a proximate result of defendant’s actionable derogation of its regulatory and

statutory responsibilities as above-described, Milton McGuire was injured as previously

referenced, and suffering pain, distress and death as a result of the poor care and treatment which

allowed him to suffer malnutrition, dehydration, bedsores, infection, aspiration, aspiration

pneumonia, and resulted in his untimely death. As such plaintiff has suffered and is entitled to

recover the following damages, as well as an award of reasonable counsel fees pursuant to 42

U.S.C. § 1988:

                 a.     money for funeral and estate expenses incurred because of the death of

                        Milton McGuire;

                 b.     damages for the lost services, assistance, guidance, counseling,

                        companionship and society of Milton McGuire;

                 c.     all pecuniary benefits which they would have received from Milton

                        McGuire;

                 d.     the expenses of administration; and

                 e.     other losses and damages permitted by law.

       WHEREFORE, the Plaintiff, Dione Jones, as Administratrix of the Estate Milton

McGuire, deceased, demands compensatory and consequential damages from the Defendants in




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excess of Seventy-Five Thousand Dollars ($75,000.00), plus interest, costs of suit, attorneys’ fees

and such other just and equitable relief as this Honorable Court deems proper.

                           COUNT TWO
DEPRIVATION OF CIVIL RIGHTS ENFORCEABLE BY 42 U.S.C. §1983 - SURVIVAL

     Plaintiff, Dione Jones, as Administratrix of the Estate Milton McGuire, deceased
                                             v.
 Defendants, Delaware County, Fair Acres Geriatric Center, William D’Amico, NHA, and
                              Joseph Travaglini (“Defendants”)

       167.     Plaintiff hereby incorporates by reference the preceding paragraphs as though the

same were fully set forth at length herein.

       168.    As a proximate result of the Defendants’ actionable derogation of its regulatory and

statutory responsibilities as above-described, Milton McGuire was injured as described above and

suffered pain, distress and death as a result of the poor care and treatment she received at Fair

Acres, including allowing her to suffer malnutrition, dehydration, bedsores, neglect, aspiration,

aspiration pneumonia, and results in his untimely death.

       169.    Thus, Plaintiff has suffered and is entitled to recover the following damages, as well

as an award of reasonable counsel fees pursuant to 42 U.S.C. § 1983:

               a.      Pain, suffering, inconvenience, fright and mental suffering, including

                       anxiety and nervousness of Milton McGuire until the time of his death;

               b.      Nursing expenses incurred on Milton McGuire’s behalf; and

               c.      other losses and damages permitted by law.

       WHEREFORE, the Plaintiff, Dione Jones, as Administratrix of the Estate Milton

McGuire, deceased, demands compensatory and consequential damages from the Defendants in

excess of Seventy-Five Thousand Dollars ($75,000.00), plus interest, costs of suit, attorneys’ fees

and such other just and equitable relief as this Honorable Court deems proper.



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                                    Respectfully submitted,

                                    MCELDREW YOUNG PURTELL MERRITT


Dated: 08/23/22                                   ____/s/ Andrew P. Watto______
                                                  Andrew P. Watto, Esquire
                                                  Attorney for Plaintiff




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